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                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                   ORLANDO DIVISION

      UNITED STATES OF AMERICA

      vs.                                           CASE NO. 6:09-CR-101-ORL-19KRS

      MARLITA WILLIAMS

                                                ORDER

              This case having been considered by the Court on Report and Recommendation

      Concerning Plea of Guilty (Doc. No. 98, filed December 21, 2009) and no objection thereto

      having been filed, it is ORDERED:

              1.     The Report and Recommendation of the United States Magistrate Judge (Doc.

      No. 98) is ACCEPTED, AFFIRMED AND ADOPTED.

              2.     Defendant Marlita Williams has entered a plea of guilty to Counts One and

      Seven of the Indictment knowingly, intelligently and voluntarily. Such plea is accepted, and

      Defendant is adjudicated guilty of Counts One and Seven of the Indictment.

              3.     Ruling on acceptance of the Plea Agreement (Doc. No. 88, filed December

      4, 2009) is deferred until the time of sentencing.

              DONE AND ORDERED at Orlando, Florida, this            22nd       day of December,

      2009.




      Copies to:
      Assistant United States Attorney
      Attorney for Defendant
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      United States Marshal
      United States Probation
      United States Pretrial Services
      Defendant
      Courtroom Deputy
